         Case 1:21-cv-00532-SAG Document 100 Filed 09/09/21 Page 1 of 1



The motions are ripe, lest I am misunderstanding the Federal Rules of Civil Procedure. The
Court owes a duty of candor in explaining what it means when it says

“when all of the motions have been filed” – Namely, what motions are left to be filed?

“fully ripe” – Specifically, what does this mean? The Federal Rules of Civil Procedure does not
include the term “fully ripe” and therefore it is unclear what the standard of review is. Without
properly establishing and communicating the standard of review, the determination can be fairly
said to be arbitrary, unconstitutional, and biased.

Unless a standard a review is clearly set forth, Plaintiff will need to take measures to safeguard
his constitutional rights.

Respectfully,

Bryce Carrasco

                                         *       *       *

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 9, 2021. /s/Bryce Carrasco.

                                         Bryce Carrasco
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